 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 DISTRICT OF KANSAS

 Case number (if known):                                       Chapter you are filing under:
                                                                         Chapter 7
                                                                         Chapter 11
                                                                         Chapter 12
                                                                                                                            Check if this is an
                                                                         Chapter 13
                                                                                                                            amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                        About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                        Phillip
     government-issued picture
                                        First Name                                             First Name
     identification (for example,
     your driver's license or           Eugene
     passport).                         Middle Name                                            Middle Name

                                        Harden
     Bring your picture                 Last Name                                              Last Name
     identification to your meeting
     with the trustee.                  Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8            First Name                                             First Name
     years
                                        Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                        Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security               xxx – xx –                   8        3       4    7   xxx – xx –
     number or federal                  OR                                                     OR
     Individual Taxpayer
     Identification number              9xx – xx –                                             9xx – xx –
     (ITIN)




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1     Phillip Eugene Harden                                                               Case number (if known)

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                         I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in             Business name                                                Business name
     the last 8 years
                                        Business name                                                Business name
     Include trade names and
     doing business as names
                                        Business name                                                Business name

                                                     –                                                           –
                                        EIN                                                          EIN

                                                     –                                                           –
                                        EIN                                                          EIN
5.   Where you live                                                                                  If Debtor 2 lives at a different address:

                                        1306 Hamilton Dr Unit B
                                        Number       Street                                          Number      Street




                                        Derby                           KS       67037
                                        City                            State    ZIP Code            City                           State    ZIP Code

                                        Sedgwick
                                        County                                                       County

                                        If your mailing address is different from                    If Debtor 2's mailing address is different
                                        the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                        court will send any notices to you at this                   will send any notices to you at this mailing
                                        mailing address.                                             address.



                                        Number       Street                                          Number      Street


                                        P.O. Box                                                     P.O. Box


                                        City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing               Check one:                                                   Check one:
     this district to file for
     bankruptcy                                 Over the last 180 days before filing this                   Over the last 180 days before filing this
                                                petition, I have lived in this district longer              petition, I have lived in this district longer
                                                than in any other district.                                 than in any other district.

                                                I have another reason. Explain.                             I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the               Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                     Chapter 7

                                               Chapter 11

                                               Chapter 12

                                               Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                            page 2
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Debtor 1     Phillip Eugene Harden                                                   Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                            residence?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it with this bankruptcy petition.




Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                             page 3
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Debtor 1     Phillip Eugene Harden                                                     Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                             page 4
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Debtor 1     Phillip Eugene Harden                                                       Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received             I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1     Phillip Eugene Harden                                                     Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     Phillip Eugene Harden                                                   Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ Phillip Eugene Harden                                 X
                                     Phillip Eugene Harden, Debtor 1                            Signature of Debtor 2

                                     Executed on 04/26/2017                                     Executed on
                                                 MM / DD / YYYY                                               MM / DD / YYYY




Official Form 101                  Voluntary Petition for Individuals Filing for Bankruptcy                                                page 7
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Debtor 1     Phillip Eugene Harden                                                       Case number (if known)

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ January M. Bailey                                               Date 04/26/2017
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        January M. Bailey
                                        Printed name
                                        Eron Law Office, P.A.
                                        Firm Name
                                        229 E. William, Suite 100
                                        Number          Street




                                        Wichita                                                    KS              67202
                                        City                                                       State           ZIP Code


                                        Contact phone (316) 262-5500                     Email address january@eronlaw.net


                                        23926                                                      KS
                                        Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                               page 8
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal               for your state of residence and family size, depending
    restitution obligations; and                                   on the results of the Means Test, the U.S. trustee,
                                                                   bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy           dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                        Code. If a motion is filed, the court will decide if your
                                                                   case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                choose to proceed under another chapter of the
                                                                   Bankruptcy Code.
    fraud or theft;
                                                                   If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                   trustee may sell your property to pay your debts, subject
    capacity;
                                                                   to your right to exempt the property or a portion of the
                                                                   proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                   and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor           trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from            called exempt property. Exemptions may enable you to
    alcohol or drugs.                                              keep your home, a car, clothing, and household items or
                                                                   to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have              Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You             must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly              Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing      property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine           proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                   Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                    $1,167    filing fee
122A-2).                                                                 $550    administrative fee
                                                                   +
If your income is above the median for your state, you must            $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--             Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                 is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to            11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                  A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                called a joint case. If you file a joint case and each
                                                                  spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires               bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about               mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses           unless you file a statement with the court asking that
  and general financial condition. The court may                  each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                             Understand which services you could
                                                                  receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                  The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                counseling briefing from an approved credit counseling
  .html#procedure.                                                agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                  case, both spouses must receive the briefing. With
                                                                  limited exceptions, you must receive it within the 180
                                                                  days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                    briefing is usually conducted by telephone or on the
consequences                                                      Internet.

    If you knowingly and fraudulently conceal assets or           In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of               must complete a financial management instructional
    perjury--either orally or in writing--in connection with      course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or           filing a joint case, both spouses must complete the
    both.                                                         course.

                                                                  You can obtain the list of agencies approved to provide
    All information you supply in connection with a               both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the             http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department            In Alabama and North Carolina, go to:
    of Justice.                                                   http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                  ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                           If you do not have access to a computer, the clerk of the
                                                                  bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF KANSAS
                                                                   WICHITA DIVISION
In re Phillip Eugene Harden                                                                                                         Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $12,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $12,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. [Other provisions as needed]
     $33.00 credit report fee
     $335.00 court filing fee




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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   a. Defending 707(b) motions;
   b. Amending bankruptcy petition and/or supporting documents;
   c. Assisting with reaffirmation agreements;
   d. Appearing at more than one meeting of creditors;
   e. Representation in any lawsuit, adversary proceeding, or contested matter, including defense of any motions for
   relief from stay, any actions to prevent foreclosure, defense of any turnover motions, litigating any motions to avoid
   liens, and litigating any dischargeability or denial of discharge matters;
   f. Representation in any 2004 examinations or depositions;
   g. Any other matter not specifically included in the retainer agreement;

  All matters not covered by the flat fee, with the exception of adversary proceedings, are covered by the retainer
  agreement, which is incorporated herein by reference and available upon request. All additional services will be
  billed on an hourly basis at the rate of $300/hr for David Eron and $200/hr for January Bailey. An supplemental fee
  disclosure WILL NOT BE FILED for charges arising from such additional services, as the agreement is being
  disclosed herein.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   04/26/2017                        /s/ January M. Bailey
                      Date                           January M. Bailey                          Bar No. 23926
                                                     Eron Law Office, P.A.
                                                     229 E. William, Suite 100
                                                     Wichita, KS 67202
                                                     Phone: (316) 262-5500 / Fax: (316) 262-5559




    /s/ Phillip Eugene Harden
  Phillip Eugene Harden




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                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF KANSAS
                                               WICHITA DIVISION
  IN RE:   Phillip Eugene Harden                                                    CASE NO

                                                                                   CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/26/2017                                           Signature    /s/ Phillip Eugene Harden
                                                                     Phillip Eugene Harden



Date                                                     Signature




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 Debtor(s): Phillip Eugene Harden                   Case No:                                          DISTRICT OF KANSAS
                                                     Chapter: 7                                           WICHITA DIVISION


Adams Jones Law Firm PA                        Benjamin Garcia                          Capital One
co Patrick Hughes                              320 N Lark                               Attn Bankruptcy
1635 Waterfront #200                           Wichita KS 67212                         PO Box 30285
Wichita KS 67206                                                                        Salt Lake City UT 84130


Alexander Mitchell                             Blazej Masiak                            Carson Bank
5838 W 21st St N Ste100                        196 Jackson Peak Drive                   122 W Main
Wichita KS 67205                               Kalispell MT 59901                       PO Box 158
                                                                                        Mulvane KS 67110


Ally Financial                                 BMIS LLC                                 Cedar Mills Property Management
PO Box 380901                                  co Lucas McAllaster                      8080 E Central Ave Ste 110
Bloomington MN 55438                           503 S St Francis                         Wichita KS 67206
                                               Wichita KS 67202


Amarillo National Bank                         Broc Fewin                               Central Key & Safe
Attn Debbie Rollins                            9790 SW Walnut Valley Rd                 305 N Market
PO Box 1                                       Augusta KS 67010                         Wichita KS 67202
Amarillo TX 79105


American Builders & Contractors Supply
                                 Brock Beran                                            Charles Darrah
2559 S Sheridan Ave              fdba Beran ICF Solutions LLC                           65 W Ranch Trail
Wichita KS 67217                 8401 E Oak Knoll                                       Morrison CO 80465
                                 Wichita KS 67210


American Pawn                                  Brock Beran                              Chase Card
4928 S Broadway                                fdba Beran ICF Solutions LLC             PO Box 15298
Wichita, KS 67216                              8401 E Oak Knoll                         Wilmington DE 19850
                                               Wichita, KS 67210


Andrew Pickering                               Brown and Ruprecht PC                    Cheney Door
200 E Douglas Apt 708                          co Heather Shore                         136 S Lulu
Wichita KS 67202                               2323 Grand Boulevard Ste 1100            Wichita KS 67211
                                               Kansas City MO 64108


Answering Exchange                             Bruce Swenson                            Chris Harden
1443 George Washington Dr                      111 N Baltimore                          2919 N Emerson
Wichita KS 67211                               Derby, KS 67037                          Derby, KS 67037



Appliance Doctor                               C&A Investments                          Citibank
1309 N Mosely                                  4030 S 151st West                        Centralized Bankruptcy
Wichita KS 67214                               Wichita KS 67227                         PO Box 790040
                                                                                        Saint Louis MO 63129


Bell Mirror & Glass                            Camillion Investments LLC                City of Marion Utilities
1702 S Seneca                                  Dallas Holovach                          208 E Santa Fe
Wichita KS 67213                               8833 Cottonwood                          Marion KS 66861
                                               Lenexa KS 66215


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 Debtor(s): Phillip Eugene Harden                   Case No:                                          DISTRICT OF KANSAS
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Clean 4 You                                    Dayrl Catron                             Evan Senn
344 Oakmont Ct                                 6410 N Richmond                          342 N Old Manor Rd
Andover KS 67002                               Wichita KS 67204                         Wichita, KS 67208



Concrete Materials Co                          Don Hamm                                 Eve Orr
PO Box 16940                                   3202 Bayview                             318 17th St
Wichita, KS 67216                              Wichita KS 67204                         Ogden, UT 84404



Conlee Schmidt & Emerson                       Don Vaughn Inc                           Fair Oaks 3 LLC
co Jeff Emerson                                PO Box 147                               3906 N Lakecrest St
200 W Douglas Ste 300                          Wichita KS 67201                         Wichita KS 67205
Wichita, KS 67202


Contour Landscape                              Drywall Systems Inc                      Fair Oaks 5 LLC
3610 N Topeka                                  3919 S West Street                       3906 N Lakecrest St
Wichita KS 67219                               Wichita, KS 67217                        Wichita KS 67205



Corey Traut                                    Duane Symaniptz                          Fair Oaks LLC
1821 Litchfield Ave                            1125 N Webster St                        3906 N Lakecrest St
Dayton OH 45406                                Naperville IL 60563                      Wichita KS 67205



Corporation Service Company                    Dynatek Inc                              Fleeson Gooing
PO Box 2576                                    11124 E 28th St N                        co Thomas Lasater
Springfield, IL 62708                          Wichita KS 67226                         PO Box 997
                                                                                        Wichita KS 67201


Craig and Linda Hill                           Edgar Hayes                              Frank Zaragoza
718 E Crestline                                41420 La Mision Way                      11030 Foster Rd
Andover KS 67002-8432                          Hemet, CA 92544                          Norwalk CA 90650



Critter Control                                Emprise Bank                             Frederick Finke
3514 Clinton Parkway Ste 405                   PO Box 2970                              PSC 37 Box 1343
Lawrence KS 66047                              Wichita KS 67201-2970                    APO AE 09459



Daniel McLain                                  Emprise Bank                             Fundworks LLC
158 Meadowbrook Rd                             1719 E Patriot Ave                       15260 Ventura Blvd #1430
Timberlake NC 27583                            Derby KS 67037                           Sherman Oaks, CA 91403



David Coatoam                                  Eric Thornquist                          Galaxie Business Equipment Inc
312 W 3rd St                                   8614 W Westlaw Cir                       913 Main St
Davenport IA 52801                             Wichita KS 67212                         Winfield KS 67156



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 Debtor(s): Phillip Eugene Harden                   Case No:                                          DISTRICT OF KANSAS
                                                     Chapter: 7                                           WICHITA DIVISION


Geo Von LLC                                    Integrated Resources Inc                 John Crotts
PO Box 147                                     PO Box 1056                              3575 Golden Crest Dr
Wichita KS 67201                               Derby KS 67037                           Garden City KS 67846



Geo Von LLC                                    Internal Revenue Service                 John Osland
1900 N Red Brush Ct                            PO Box 7346                              343 Ridgeview Dr
Wichita KS 67206-4425                          Philadelphia PA 19101-7346               Port Townsend WA 98368



Golden Plains Credit Union                     J Michael Muhlenbruch                    John Terry Moore
1714 E Kansas Ave                              2102 Fairway Drive                       8080 E Central Ste 300
Garden City KS 67846                           Dodge City KS 67801                      Wichita KS 67206



Haddock Law Office LLC                         Jacob Weaver                             K/P Growth Holdings LLC
12828 E 13th St N Ste 4                        2059 S Capri Ct                          co Kurt Sorenson
Wichita KS 67230                               Wichita KS 67207                         PO Box 771376
                                                                                        Wichita KS 67277


Harden Properties LLC                          James and Susan McMillan                 Kahrs Law Offices PA
dba RPM Wichita                                3169 W Keywest Ct                        PO Box 780487
402 N River, Ste 200                           Wichita KS 67204                         Wichita KS 67278
Derby, KS 67037


Harden Rentals LLC                             James and Virginia Pierce                Kansas Department of Labor
402 N River, Ste 200                           9550 N Oliver                            Attn Legal Services
Derby, KS 67037                                Valley Center, KS 67147                  401 SW Topeka Blvd
                                                                                        Topeka, KS 66603-3182


Hinkle Law Firm LLC                            Jaraya Owens                             Kansas Department of Revenue
co John Eric Rapp                              4409 E 27th St N                         Civil Tax Enforcement
1617 N Waterfront Pkwy Ste 400                 Wichita, KS 67220                        PO Box 12005
Wichita KS 67206                                                                        Topeka KS 66601-30058


Hinkle Law Firm LLC                            Jeff Moody                               Kansas Hearth Products Inc
Attn Laura D. Fent                             9778 Lorraine Carol Way                  Fenix Heating Cooling
301 N Main, Ste 2000                           Lorton VA 22079                          632 W 7th St
Wichita, KS 67202                                                                       Haysville, KS 67060


Husch Blackwell LLP                            Jeffrey Rotter                           Karen Harden
Attn Nancy L. Parks                            637 W Sierra Madre Ave                   20046 61st Rd
4801 Main Street Ste 1000                      Gilbert AZ 85233                         Winfield KS 67156
Kansas City, MO 64112


HWM Inc                                        Jody Reilander                           Karen Harden
5 North Buhler Rd                              11014 Quail Creek Rd                     20046 61st Rd
Hutchinson, KS 67501                           Derby KS 67037                           Winfield, KS 67156



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Kenneth Ashworth                               KW Growth Holdings LLC                   Margaret Graves
315 N Graves Rd                                15215 S 48th St Ste 139                  800 N Dean
Norton KS 67654                                Phoenix AZ 85044                         Mount Hope, KS 67108



Kerry Haydon                                   LACFD                                    Mark Lazzo
29408 Via Espada                               9 Rainwood                               3500 N Rock Rd
Murrieta CA 92563                              Aliso Viejo, CA 92656                    Bldg 300, Ste B
                                                                                        Wichita, KS 67226


Kevin Beckley                                  Larry Beck                               Martindell Swearer Shaffer Ridenou
PO Box 8690                                    PO Box 513                               co Natasha Riffel-Kuhlmann
Prairie Village KS 66208                       Derby KS 67037                           20 Compound Drive
                                                                                        PO Box 1907
                                                                                        Hutchinson KS 67504-1907

Kevin Swenson                                  Lewis Street Glass                       Martini, Hughes, Grossman
6800 Kelmscott Drive                           743 S Market                             Attn Jim Hughes
Memphis TN 38119                               Wichita KS 67211                         900 Linton Blvd Ste 201
                                                                                        Delray Beach, FL 33444


Keystone Automotive Industries, Inc
                                 Liftforward Inc                                        Marvin Morris
3002 W Pawnee Ste 100            261 Madison Ave 9th Floor                              2844 N Fountain
Wichita, KS 67213                New York NY 10028                                      Wichita KS 67220



KMA Invs                                       Lindsey Rohan Esq                        Maureen Barnes
8833 Cottonwood                                8 Lafayette Avenue                       18834 Santa Barbara St
Lenexa KS 66215                                Lake Grove NY 11755                      Fountain Valley CA 92708



KMA LLC                                        Logan Swingle                            Max Barker
9080 Gervais Cir Apt 505                       1220 E Kellogg #103                      1511 N West St Apt 6
Naples FL 34120-4835                           Wichita, KS 67211                        Wichita KS 67203



Korey Zawadski                                 Madden & Orsi                            McMillan Seamless Guttering, Inc
216 Edgebrook Dr                               Attn Peter Orsi                          402 N River Ste 200
Pikeville NC 27863                             300 W Douglas Ste 1000                   Derby, KS 67037
                                               Wichita, KS 67202


Kory Meda                                      Malcolm Lee                              Meadowlark Holdings LLC
5054 Vestry Ct                                 213 Fiesta Way                           12914 W Harvest Ln
Fairfield CA 94534                             Vacaville CA 95688                       Wichita KS 67235



KP Growth Holdings                             Marcio Fletes                            Mel's Carpet Cleaning
402 N River Ste 200                            6237 Gannetdale Dr                       6505 Shadow Lakes St
Derby, KS 67037                                Lithia, FL 33547                         Wichita KS 67205



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Metro Appliance                                Nissan Motor Acceptance Corporation
                                                                                Platinum Rapid Funding Group Ltd
3545 N Hillside                                PO Box 742657                    348 RXR Plaza
Wichita KS 67219                               Cincinnati, OH 45274-2657        Uniondale NY 11556



Michael McCullough                             Nitish Pandhi                            Polsinelli
11400 Palm Drive                               1641 Sunset Lane                         co Mike George
Desert Hot Springs, CA 92240                   Fullerton CA 92833                       900 W 48th Place Ste 900
                                                                                        Kansas City, MO 64112


Michael Tacelli                                Nu Line Signs                            PPG Industries Inc
9 Rainwood                                     3310 W Central Ave                       19699 Progress Drive
Aliso Viejo CA 92656                           Wichita KS 67203                         Strongsville, OH 44149



Midway Sales & Distributing Inc                Olander Jones                            Premium Auto Restoration of Derby
218 SE Branner                                 4105 Bellerive Pl                        Attn Connie Merriman
Topeka, KS 66607                               Valrico FL 33596                         301 N Saint Francis
                                                                                        Wichita, KS 67202


Mike Benward                                   Osama Musa                               Pride Auto Plaza of Derby, LLC
14702 W Valley Hi Rd                           16 Laura Lane                            402 N River, Ste 200
Wichita KS 67235                               Bedminster NJ 07921                      Derby, KS 67037



Mike Casados                                   Padgett Excavation Inc                   Progressive Opportunities
1801 N Wooddale St                             6936 N Oliver                            4313 N 119th St W
Wichita KS 67230                               Kechi KS 67067                           Maize KS 67101



Morgan Hammond and Carter Way                  Pathway Family Services                  Property Management Business Solut
6613 E Magill                                  618 Commerical                           579 Heritage Park Blvd Ste 200
Wichita KS 67206                               Emporia KS 66801                         Layton UT 84041



Morris Laing                                   Perfection Structural Components LLC
                                                                                Quality Granite & Marble
co Karl Swartz                                 co Ron Harnden                   1123 S West
300 N Mead Ste 200                             2959 N Rock Rd Ste 300           Wichita, KS 67213
Wichita KS 67202                               Wichita, KS 67226


Nathan and Jenny Beenken                       Pfalzgraf Law Offices                    Quiktrip Fleet Services
1507 Alise                                     H Douglas Pfalzgraf                      PO Box 639
Derby, KS 67037                                522 N Washington                         Portland ME 04210
                                               PO Box 668
                                               Wellington KS 67152-0668

Nina Choy                                      Phill and Bob Schroeder                  Rachel Schneider
823 Redhaven St                                1015 E Madison                           dba Sparkle House Cleaning
Brentwood CA 94513                             Derby KS 67037                           4504 S Ellis
                                                                                        Wichita, KS 67216


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Randall and Joan Ott                           Roto Rooter                              Speedy Rentals
PO Box 589                                     801 E Mt Vernon                          1341 S Ellis
Buhler KS 67522                                Wichita KS 67211                         Wichita KS 67211



Real Property Management                       RSG LLC                                  Supreme Floor Company
1455 W 2200 South Ste 300                      16819 S Dupont Hwy Ste 300               117 N Main
Salt Lake City UT 84119                        Harrington DE 19952                      Hillsboro KS 67063



Realvision Investments LLC                     Ryan Brown                               Synchrony Bank
PO Box 365                                     1401 N River Blvd Apt 2C                 Attn Bankruptcy
Derby KS 67037                                 Wichita KS 67203                         PO Box 956060
                                                                                        Orlando FL 32896


Realvision Investments LLC                     Sedgwick County Treasurer                T&A Investments LLC
co Joshua Brown                                PO Box 2961                              2205 W 32nd St S
844 Winding Lane Ct                            Wichita KS 67201-2961                    Wichita KS 67217
Derby KS 67037-8774


RGBL LLC                                       Serv Pro of NE Wichita                   TAS Properties Inc
5400 N 27th W                                  3225 S Oliver                            co Tyler J Smith
Mount Hope KS 67108                            Wichita KS 67210                         130 Redbud Lane
                                                                                        Valley Center KS 67147


RGBL LLC                                       Shane Armour                             The Tap of Kansas
co Robert Griffin Jr                           6101 S 167th St West                     620 S Washington St
810 N Chestnut St                              Clearwater KS 67026                      Wichita KS 67211
Frankfort KS 66427


Robert Taggart                                 Sherwin Williams                         Thea L Heinrichs
1705 Valparaiso Ave                            1220 N Rock Rd                           1325 Spring Circle
Menlo Park CA 94025                            Derby KS 67037                           Haysville KS 67060



Robert's Overdoors                             Signature Pest Control                   Timothy Zishka
6104 SE Blvd                                   PO Box 13393                             871 Ibis Walk Pl N Ste 4401
Derby KS 67037                                 Wichita KS 67213                         Saint Petersburg FL 33716



Rohan Mathews                                  Southwest National Bank                  Tom George Investments LLC
5829 NW 88th St                                PO Box 1257                              811 E Waterman St Ste 1
Oklahoma City OK 73132                         Wichita KS 67201                         Wichita KS 67202



Ron Meisch                                     SPA LLC                                  Tom George Investments LLC
735 Wendy Kay Lane                             Vera Robl                                1900 N Red Brush Ct
Mulvane KS 67110                               5842 W 21st St N                         Wichita KS 67206-4425
                                               Wichita KS 67205


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Toomey Pilgreen LLC                            Walter Spicer
co Patrick Toomey                              125 W Waller
229 E William Ste 201                          Rose Hill KS 67133
Wichita KS 67202


Total Heating & Cooling                        Washer Specialties
1711 E 2nd St N                                PO Box 3268
Wichita KS 67214                               Wichita KS 67201



Tracy Mackay                                   Wayne Cuchna Attorney
548 Emery St                                   2425 Durand Dr
Mulvane KS 67110                               Downers Grove IL 60516-1021



Trade Loop Multifamily LLC                     Wells Fargo Dealer Services
co Troy Heard                                  Attn Bankruptcy
8314 W Meadow Park                             PO Box 19657
Wichita KS 67205                               Irvine CA 92623


Trade Loop Partners LLC                        Wheat State Credit Union
co Troy Heard                                  1400 S Oliver
8314 W Meadow Park                             Wichita KS 67218-2995
Wichita KS 67205


Trade Loop Twinhomes                           Wildcat Rentals LLC
co Troy Heard                                  Mike and Susan Mueller
8314 W Meadow Park                             12821 E Killenwood Dr
Wichita KS 67205                               Wichita KS 67230


Triplett Woolf Garretson LLC                   Wildcat Rentals LLC
2959 N Rock Rd Ste 300                         co Doug Kraemer
Wichita KS 67226                               3153 Ella Lane
                                               Manhattan KS 66502


Ultra Modern                                   Xtreme Lawn & Landscape
8100 W Kellogg                                 PO Box 771057
Wichita KS 67209                               Wichita KS 67277



US Attorney Wichita                            Young Bogle
1200 Epic Center                               co Jerry Bogle
301 N Main                                     100 N Main Ste 1001
Wichita KS 67202                               Wichita KS 67202-1322


Valley State Bank                              Zach Washington
PO Box 428                                     931 E Terrace
Belle Plaine KS 67013                          Derby KS 67037



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 Fill in this information to identify your case:
 Debtor 1             Phillip                   Eugene            Harden
                      First Name                Middle Name       Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name       Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.      Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp
                                   CaseStatement
                                         17-10732of Exemption from Presumption of Abuse Under § 707(b)(2)
                                                        Doc# 1 Filed 04/26/17 Page 23 of 26                                                  page 1
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Phillip               Eugene               Harden
                    First Name            Middle Name          Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name           Middle Name          Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: DISTRICT OF KANSAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                       Chapter 7 Statement of Your Current Monthly Income                                                 page 1
                                  Case 17-10732      Doc# 1 Filed 04/26/17 Page 24 of 26
Debtor 1        Phillip Eugene Harden                                                                                               Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                                               page 2
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Debtor 1       Phillip Eugene Harden                                                                               Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Phillip Eugene Harden                                                                 X
           Phillip Eugene Harden, Debtor 1                                                                Signature of Debtor 2

           Date 4/26/2017                                                                                 Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                                                        page 3
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